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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

IN RE:                                         Case No. 6:21-bk-01271-LVV
Alfonso Nieves, Jr                             Chapter 7

Debtor.

And

Maylin I Cohen Nieves

Joint Debtor.



                                      PROOF OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the Order Denying Carrington

Mortgage Services, LLC's Motion for Relief from Stay (Docket 6) has been sent by electronic or

standard first class mail on this 13th day of July, 2021, to the following:


Via CM/ECF Electronic Notice

Walter F Benenati, Credit Attorney PA
2702 East Robinson Street
Orlando, FL 32803

Richard B. Webber
PO Box 3000
Orlando, FL 32802

United States Trustee
400 West Washington Street
Suite 1100
Orlando, FL 32801

Via First Class U.S. Mail, Postage Prepaid

Debtor
Alfonso Nieves, Jr
2436 Seven Oaks Drive
Saint Cloud, FL 34772
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Debtor
Maylin I Cohen Nieves
2436 Seven Oaks Drive
Saint Cloud, FL 34772


                                             /s/Elizabeth Eckhart
                                             Steven G. Powrozek, FL Bar 0316120
                                             Elizabeth Eckhart, FL Bar 48958
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